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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

BERTRUM JEAN, Individually and as the                §
surviving father of BOTHAM SHEM JEAN,                §
ALLISON A. JEAN, Individually and as the             §
surviving mother of BOTHAM SHEM JEAN                 §
and ALLISA E. FINDLEY as the                         §
Administrator of the estate of BOTHAM                §
SHEM JEAN,                                           §
      Plaintiffs,                                    §
                                                     §
VS.                                                  §            CIVIL ACTION NO. 3:18-CV-2862
                                                     §
THE CITY OF DALLAS, TEXAS AND                        §
AMBER GUYGER,                                        §
    Defendants.                                      §

                        CERTIFICATE OF INTERESTED PERSONS

        Pursuant to the Northern District of Texas Local Rules 3.1(c) and 7.4 and Federal Rules
of Procedure 7.1, Plaintiffs provide the following information and file the following Certificate
of Interested Persons and state that, to their knowledge, only the following persons and/or
entities have a financial interest in the outcome of this case:


1.      Bertrum Jean
        c/o Daryl K. Washington
        Washington Law Firm, P.C.
        325 N. St. Paul, Suite 3950
        Dallas, Texas 75201
        Telephone: (214) 880-4883
        Facsimile: (214) 751-6685
        Plaintiff

2.      Allison Jean
        c/o Daryl K. Washington
        Washington Law Firm, P.C.
        325 N. St. Paul, Suite 3950
        Dallas, Texas 75201
        Telephone: (214) 880-4883
        Facsimile: (214) 751-6685
        Plaintiff



CERTIFICATE OF INTERESTED PERSONS                                                          Page 1
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3       Allisa E. Findley as the Administrator of the estate of
        Botham Shem Jean
        c/o Daryl K. Washington
        Washington Law Firm, P.C.
        325 N. St. Paul, Suite 3950
        Dallas, Texas 75201
        Telephone: (214) 880-4883
        Facsimile: (214) 751-6685
        Plaintiff


4.      The City of Dallas, Texas
        Dallas City Hall
        1500 Marilla Street
        Room 5EN,
        Dallas, TX 75201
        Defendant

5.      Amber Guyger
        Dallas Police Department
        1400 S. Lamar
        Dallas, TX 75215
        Defendant




                                              Respectfully submitted,

                                              By: /s/ Daryl K. Washington
                                              DARYL K. WASHINGTON
                                              State Bar No. 24013714
                                              WASHINGTON LAW FIRM, P.C.
                                              325 N. St. Paul St., Suite 3950
                                              Dallas, Texas 75201
                                              214 880-4883
                                              214-751-6685 - fax

                                              ATTORNEYS FOR PLAINTIFFS



CERTIFICATE OF INTERESTED PERSONS                                                         Page 2
